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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR183
       vs.                                    )
                                              )       ORDER CONTINUING TRIAL
MARIA PARTITA,                                )
                                              )
                     Defendant.               )


       This matter is before the court on defendant’s motion to continue trial (#22).
Defendant has filed a waiver of speedy trial (#23). For good cause shown, I find that the
motion should be granted. Trial of this matter will be continued to the next available trial
setting.

      IT IS ORDERED that defendant’s Motion to Continue Trial (#22) is granted, as
follows:

      1. The trial of this case is continued to Tuesday, July 26, 2005 before Judge Laurie
Smith Camp and a jury as to all defendants.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between July 5, 2005 and July 26,
2005, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act due to defense counsel's scheduling conflict. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED June 16, 2005.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
